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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

JAZZMAN LEVERT DANIEL                                   )
                                                        )
                             Plaintiff,                 )
v.                                                      )   Civil Action No. 2:16-cv-00701
                                                        )
BEN FRAZER,                                             )
                                                        )
JOSEPH RONAN, and                                       )
                                                        )
JOSEPH DEBOARD,                                         )
                                                        )
                             Defendants.                )
                                                        )

 DEFENDANTS’ MOTION FOR A PROTECTIVE ORDER PURSUANT TO FEDERAL
                  RULE OF CIVIL PROCEDURE 26(c)

       Come now the Defendants in this matter and request the entry of a protective order pursuant

to Federal Rule 26(c)(A) staying the Plaintiff’s request for discovery while the Defendants’ Rule

12 motions, which include an assertion of qualified immunity, are pending. The grounds for this

motion are also set forth more fully in the attached memorandum incorporated by reference herein.

Date: April 25, 2017         Respectfully Submitted,

                             DEFENDANTS BEN FRAZER, JOSEPH RONAN and JACOB
                             DEBOARD

                             ________/s/ _____________________
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                             Counsel for Defendants



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of April, 2017, I will electronically file the foregoing
with the Clerk of the Court using the CM/ECF system, and I will send via first-class mail,
postage pre-paid notification of such filing to the following non-filing user:

Jazzman Levert Daniel, pro se, Inmate #111558
Richmond City Jail
1701 Fairfield Way
Richmond, VA 23223

                                       ________/s/ _____________________
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